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IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

   MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA          )
                                  )      CRIMINAL ACTION NO.
     v.                           )          2:17cr131-MHT
                                  )            (WO)
MICHAEL WESLEY FLYNN              )


                        OPINION AND ORDER

    This cause is before the court on defendant Michael

Wesley Flynn’s motion to continue.             For the reasons set

forth below, the court finds that jury selection and

trial, now set for July 10, 2017, should be continued

pursuant to 18 U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.      The Act provides in part:

          “In any case in which a plea of not
          guilty is entered, the trial of a
          defendant charged in an information or
          indictment with the commission of an
          offense shall commence within seventy
          days from the filing date (and making
          public)   of    the   information   or
          indictment, or from the date the
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           defendant   has   appeared  before   a
           judicial officer of the court in which
           such charge is pending, whichever date
           last occurs.”

§ 3161(c)(1).          The Act excludes from the 70-day period

any continuance based on “findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”       §     3161(h)(7)(A).             In     granting    such      a

continuance, the court may consider, among other factors,

whether    the     failure       to   grant    the    continuance       would

“result in a miscarriage of justice,” § 3161(h)(7)(B)(i),

or “would deny counsel for the defendant ... reasonable

time necessary for effective preparation, taking into

account       the         exercise        of         due       diligence.”

§ 3161(h)(7)(B)(iv).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Flynn in a speedy trial. Based

on Flynn’s representations in his continuance motion, the

government       has     filed    a    superseding         indictment     and

informed     his       counsel    that    more       discovery    will    be

forthcoming.       A continuance is warranted to allow Flynn’s
                                 2
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counsel the opportunity to prepare fully and effectively

for trial in light of the superseding indictment.

    The government does not object to a continuance.

                                 ***

    Accordingly, it is ORDERED as follows:

    (1)   Defendant      Michael       Wesley   Flynn     motion       for

continuance (doc. no. 31) is granted.

    (2) The jury selection and trial for defendant Flynn,

now set for July 10, 2017, are reset for September 5,

2017, at 10:00 a.m., in Courtroom 2FMJ of the Frank M.

Johnson Jr. United States Courthouse Complex, One Church

Street, Montgomery, Alabama.

    DONE, this the 30th day of June, 2017.

                                  /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
